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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MICHEL SHARRITT, et al.,                           )
                                                   )
               Plaintiffs,                         )
                                                   )           No. 23 C 15838
       v.                                          )
                                                   )           Judge Sara L. Ellis
GWEN HENRY, in her capacity as Treasurer           )
of DuPage County, Illinois, et al.,                )
                                                   )
               Defendants.                         )

                                     OPINION AND ORDER

       Plaintiffs Michel Sharritt, Melody Cannon, Maurice Cross, Christopher Meyer, Dareios

Little, and Karl Lee sued Winnebago, Peoria, Will, Carroll, Newport, and Boone Counties

(collectively the “Other Counties”), and DuPage, Lake, and Kane Counties, as well as each of

the individual Defendant Counties’ respective treasurers and clerks (as individual counties with

their respective officials, e.g., the “DuPage County Defendants,” and collectively with all other

defendants, “Defendants”), alleging that Defendants’ use of the Illinois tax sale procedures

contained in the Illinois Tax Code, 35 Ill. Comp. Stat. 200 et seq., violates Plaintiffs’ rights to

(1) fair compensation for takings pursuant to the Fifth and Fourteenth Amendments, and the

Illinois Constitution; (2) due process under the Fourteenth Amendment and the Illinois

Constitution; and (3) be free from excessive fines under the Eighth and Fourteenth Amendments,

and the Illinois Constitution. Defendants raise a host of threshold immunity and standing

arguments for why this Court lacks jurisdiction to hear this case, challenge the sufficiency of

Plaintiffs’ allegations under Federal Rule of Civil Procedure 12(b)(6), and argue that Plaintiffs

failed to sue all necessary parties under Rule 19. While the Court agrees that Plaintiffs fail to

state a substantive or procedural due process claim and accordingly dismisses Count II of their
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amended complaint, the Court disagrees with the remainder of Defendants’ arguments

concerning why this case cannot proceed. The Court therefore grants in part and denies in part

Defendants’ separate motions to dismiss.1

                                          BACKGROUND 2

I.       Illinois Tax Sales

         Illinois counties assess taxes on real property every year in accordance with the Illinois

Tax Code, 35 Ill. Comp. Stat. 200 et seq. If a property owner fails to pay their property taxes, the

property becomes delinquent and the county places a first-priority lien on the property for the

unpaid amounts, which accrue interest. If the owner fails to timely satisfy his or her tax burden,

then a state court issues a judgment for nonpayment. After receiving this judgment, Illinois law

requires the county treasurer to offer the amount of unpaid taxes (the “Tax Amounts”) at an

annual tax sale. At a tax sale, potential buyers, who are often corporations and LLCs, but

occasionally individuals, bid on the interest rate they will charge the property owner to redeem

the property. The buyer that bids the lowest interest rate wins and immediately pays the county

the Tax Amounts. In exchange, the buyer receives (1) the right to collect the Tax Amounts from

the property owner, plus the winning interest rate, and (2) a lien on the property.

         After the buyer receives a lien, Illinois law requires it to provide the property owner with

“reasonable notice of the sale and the date of expiration of the period of redemption.” Ill. Const.

art. IX, § 8(e). The redemption period—the time during which the property owner must repay


1
 Lake, DuPage, and Kane Counties filed separate motions to dismiss. See Doc. 88 (Lake County), Doc.
89 (DuPage County), Doc. 90 (Kane County). The Other Counties filed a collective motion to dismiss.
See Doc. 86. The Court thanks the parties for their comprehensive briefing, which spanned a collective
252 pages, on the several matters they raised before the Court.
2
  The Court takes the facts in the background section from Plaintiffs’ first amended complaint and
exhibits attached thereto and presumes them to be true for the purpose of resolving Defendants’ motions
to dismiss. See Phillips v. Prudential Ins. Co. of Am., 714 F.3d 1017, 1019–20 (7th Cir. 2013).
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the buyer the Tax Amounts plus the winning interest rate—is usually thirty months. If the

property owner redeems the property within the redemption period, then the buyer’s lien is void.

However, if the property owner fails to redeem the property, then the buyer can petition a state

court for ownership of and the right to evict any current tenants occupying the property. If the

state court accepts the buyer’s petition, then the county clerk issues a tax deed that transfers

ownership of the property from the original owner to the buyer.

       Counties maintain “indemnity funds” to compensate eligible parties who have suffered

losses from tax sales. See 35 Ill. Comp. Stat. 200/21-295. Petitioners who assert injuries

springing from the Illinois tax sale procedures can petition a state court for an indemnity. If the

petitioner seeks an award of $99,000 or less, then the reviewing court may grant the petition if

“in the discretion of the [petitioned] Court, the equities warrant the action.” 35 Ill. Comp. Stat.

200/21-305(1). If the petitioner seeks to recover more than $99,000, then the court may only

grant such an award if the petitioner shows “the loss of his . . . property was not attributable to

his . . . own fault or negligence.” Id. Plaintiffs allege that Defendants routinely challenge

petitioners who seek to recover from the Indemnity Fund their losses that result from the Illinois

tax sale procedures in order to prevent such recoveries.

II.    Plaintiffs

       A.      Sharritt

       Sharritt is a resident of DuPage County, Illinois. She owned a home in Naperville,

Illinois, but became delinquent on her property taxes. DuPage County sold the Tax Amounts,

and Sharritt failed to redeem her property from the tax buyer. After the redemption period

expired, the tax buyer received a tax deed, awarding him ownership of Sharritt’s property.

Sharritt did not receive compensation for the value of the equity she owned in the home that was



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greater than the Tax Amounts. Eventually, the tax buyer evicted Sharritt and her family from the

property.

       B.      Cannon and Cross

       Cannon and Cross are residents of Carroll County, Illinois. They owned a home in

Shannon, Illinois. Cannon and Cross failed to stay current with their property taxes, so Carroll

County sold the Tax Amounts to a tax buyer. Cannon and Cross did not redeem their property

from the tax buyer. When the redemption period expired, the tax buyer obtained a tax deed,

awarding them ownership of Cannon and Cross’ property. Cannon and Cross did not receive

compensation for the value of the equity they owned in the home that was greater than the Tax

Amounts. The tax buyer evicted the pair from the property.

       C.      Lee

       Lee is a resident of Peoria County, Illinois, and a U.S. military veteran. He owned a

home in Chillicothe, Illinois, that he renovated over time after purchasing it in poor condition.

However, Lee failed to pay his property taxes, and Peoria County sold the overdue Tax Amounts

to a tax buyer. Lee failed to redeem his property from the tax buyer within the redemption

period. After its expiration, the tax buyer received a tax deed, awarding them ownership of

Lee’s property. Lee did not receive compensation for the value of the equity he owned in the

home that was greater than the Tax Amounts. Eventually, the tax buyer evicted Lee from the

property.

       D.      Little

       Little is a resident of Michigan. He formerly owned and lived in a residence in DuPage

County, Illinois. Little became delinquent on his property taxes, and DuPage County sold the

Tax Amounts to a tax buyer. Little did not redeem his property within the redemption period.



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After its expiration, the tax buyer received a tax deed, awarding them ownership of Little’s

property. Little did not receive compensation for the value of the equity he owned in the home

that was greater than the Tax Amounts. Eventually, the tax buyer evicted Little, his wife, and

seven children from the property.

       E.      Meyer

       Meyer is a resident of Boone County, Illinois. He owned a home in Belvidere, Illinois,

but he did not pay his property taxes. Eventually, Boone County sold the Tax Amounts to a tax

buyer. Meyer did not redeem his home, and when the redemption period expired, the tax buyer

received a tax deed awarding them ownership of Meyer’s property. Meyer did not receive

compensation for the value of the equity he owned in the home that was greater than the Tax

Amounts. The tax buyer evicted Meyer from the property.

                                      LEGAL STANDARD

       A motion to dismiss under Rule 12(b)(1) challenges the Court’s subject matter

jurisdiction. Fed. R. Civ. P. 12(b)(1). The standard of review for a Rule 12(b)(1) motion to

dismiss depends on whether the defendant raises a facial or factual challenge. Silha v. ACT, Inc.,

807 F.3d 169, 173 (7th Cir. 2015). If a defendant challenges the sufficiency of the allegations

regarding subject matter jurisdiction—a facial challenge—the Court “must accept all well-

pleaded factual allegations as true and draw all reasonable inferences” in the plaintiff’s favor. Id.

“[W]hen evaluating a facial challenge to subject matter jurisdiction,” the Court employs the

Twombly–Iqbal “plausibility” standard, “which is the same standard used to evaluate facial

challenges to claims under Rule 12(b)(6).” Id. at 174. If, however, the defendant contests the

truth of the jurisdictional allegations—a factual challenge—the Court may look beyond the

pleadings and view any competent proof submitted by the parties to determine if the plaintiff has



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established subject matter jurisdiction by a preponderance of the evidence. See id. at 173; Apex

Digit., Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 444–45 (7th Cir. 2009); Meridian Sec. Ins.

Co. v. Sadowski, 441 F.3d 536, 543 (7th Cir. 2006).

        A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the complaint, not

its merits. Fed. R. Civ. P. 12(b)(6); Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir.

1990). In considering a Rule 12(b)(6) motion, the Court accepts as true all well-pleaded facts in

the plaintiff’s complaint and draws all reasonable inferences from those facts in the plaintiff’s

favor. Kubiak v. City of Chicago, 810 F.3d 476, 480–81 (7th Cir. 2016). To survive a Rule

12(b)(6) motion, the complaint must assert a facially plausible claim and provide fair notice to

the defendant of the claim’s basis. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007); Adams v. City of Indianapolis, 742 F.3d 720, 728–29 (7th

Cir. 2014). A claim is facially plausible “when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678.

                                             ANALYSIS

        Defendants each incorporate by reference different arguments that other Defendants

made in their respective briefs to create a nesting chain of arguments. E.g., Doc. 88 at 14–15

(Lake County Defendants’ incorporation by reference of arguments made in their co-Defendants’

briefs). 3 The Court unstacks this matryoshka doll in the following order: it begins with threshold

immunity, abstention, and statute of limitations arguments that, if resolved in Defendants’ favor,

would warrant the dismissal of the entire case, certain claims, or specific Defendants regardless

of the sufficiency of the allegations in Plaintiffs’ amended complaint. If Plaintiffs surmount


3
 Citations to documents in the record are to the page number the ECF system provides at the top of each
page, not the page number as reflected at the bottom of each document.
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these hurdles, the Court moves to the second layer, addressing issues of standing relevant to the

Will, Lake, Kane, and Winnebago County Defendants. The Court then considers whether

Plaintiffs’ amended complaint states a claim for relief under the Fifth, Eighth, and Fourteenth

Amendments, and the Illinois Constitution. Finally, if the amended complaint survives this

analysis, the Court then addresses the residual housekeeping issue of whether the roster of

Defendants that Plaintiffs named in their amended complaint satisfies Rule 19, or if Plaintiffs

must also sue those who purchased their properties at tax sales.

I.       Whether the Eleventh Amendment Strips This Court of Jurisdiction

         The Court starts with the Eleventh Amendment argument that the Kane County

Defendants develop in their brief, and which the other Defendants incorporate by reference.

Doc. 91 at 9–11 (arguing immunity for the Kane County Clerk and Treasurer under the Eleventh

Amendment); see also Doc. 87 at 14 n.4 (the Other Counties “join[ing] in and adopt[ing] the

Eleventh Amendment” argument in Kane County’s brief); Doc. 88 at 14 (same for Lake County

Defendants); Doc. 89 at 13 (same for DuPage County Defendants). Defendants argue that the

Eleventh Amendment shields county clerks and treasurers from liability in this case because their

duties relevant to collecting the Tax Amounts due on delinquent properties—issuing a tax deed

and administering tax sales, respectively—are creatures of state court orders and state statutes,

which makes the county clerks and treasurers arms of the state immune from suit under the

Eleventh Amendment.

         The Eleventh Amendment provides that “[t]he Judicial power of the United States shall

not be construed to extend to any suit in law or equity, commenced or prosecuted against one of

the United States by Citizens of another State, or by Citizens or Subjects of any Foreign State.”

U.S. Const. amend. XI. The Amendment also bars federal courts from hearing suits between a



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State and its own citizen. See PennEast Pipeline Co., LLC v. New Jersey, 594 U.S. 482, 499

(2021) (“States retain their immunity from suit regardless of the citizenship of the plaintiff.”

(citing Hans v. Louisiana, 134 U.S. 1 (1890))). “[A]n official-capacity suit against a state

official is deemed to be a suit against the state and is thus barred by the Eleventh Amendment,

absent a waiver by the state or a congressional override.” Scott v. O’Grady, 975 F.2d 366, 369

(7th Cir. 1992). “This immunity does not extend, however, to other political or municipal

entities created by states,” including county governments and their officials. DuPage Reg’l Off.

of Educ. v. U.S. Dep’t of Educ., 58 F.4th 326, 337 (7th Cir. 2023).

       However, the Eleventh Amendment analysis does not boil down to an easy sorting

exercise between state officials and governments who enjoy immunity and municipal officials

and governments who covet it. In certain contexts, local governments and officials operate as

“arms of the state” and may find immunity under the Eleventh Amendment. Mt. Healthy City

Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 280 (1977); cf. Scott, 975 F.2d at 371 (county

sheriff acts as state official when “executing Writs of Assistance and other state court orders”);

see also Ruehman v. Sheahan, 34 F.3d 525, 528 (7th Cir. 1994) (“An official-capacity suit

challenging the execution of the warrants would be a suit against the state, because state courts

issued the warrants.”). When a local official looks to the Eleventh Amendment for protection,

courts consider whether the local official is “carrying out non-discretionary duties subject to state

policy control.” Cassell v. Snyders, 990 F.3d 539, 552 (7th Cir. 2021); cf. Richman v. Sheahan,

270 F.3d 430, 439 (7th Cir. 2001) (“In determining whether the sheriff is an agent of Illinois

government when performing particular functions, we have looked to the degree of control




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exercised by Illinois over the conduct at issue and whether the Eleventh Amendment policy of

avoiding interference with state (as opposed to county) policy is offended by the lawsuit.”). 4

        The Kane County Defendants argue that the county clerks and treasurers are entitled to

Eleventh Amendment immunity because state courts and state law control all actions the officials

take to enforce the provisions of the Illinois Tax Code. For treasurers, those acts include

petitioning state courts to obtain judgments for nonpayment of delinquent property taxes and

then offering those taxes at a tax sale; for clerks, this includes issuing a tax deed after a state

court awards title to a tax buyer once the original property owner fails to timely redeem their

property. Per the Kane County Defendants’ argument, state law compels the treasurers and

clerks to perform these acts, see, e.g., 35 Ill. Comp. Stat. 200/21-150 (compelling county

treasurer to file “all applications for judgment and order of sale for taxes and special assessments

on delinquent properties . . . within 90 days after the second installment due date”); 35 Ill. Comp.

Stat. 200/22-40 (empowering court to “enter an order directing the county clerk . . . to issue to

the purchaser or its assignee a tax deed”), so under Scott they enjoy Eleventh Amendment

immunity from suit to the extent that Plaintiffs’ amended complaint challenges their execution of

those duties. 975 F.2d at 371; see also Cassell, 990 F.3d at 552 (municipal officials enjoy



4
  Plaintiffs argue that the Court should use an alternate two-factor test to assess whether the treasurers and
clerks are “arms of the state” entitled to Eleventh Amendment immunity. See Burrus v. State Lottery
Comm’n of Ind., 546 F.3d 417, 420 (7th Cir. 2008) (“To determine if a particular entity is an arm of the
state, courts look primarily at two factors: (1) the extent of the entity’s financial autonomy from the state;
and (2) the ‘general legal status’ of the entity.”). However, as the language of the test belies, it applies to
entities, not individual officials. See, e.g., id., Tucker v. Williams, 682 F.3d 654, 659 (7th Cir. 2012) (“To
determine if a particular entity is a state agency, i.e., an arm of the state, courts look at: (1) the extent of
the entity’s financial autonomy from the state; and (2) the ‘general legal status’ of the entity.” (emphasis
added)); Peirick v. Ind. Univ.-Purdue Univ. Indianapolis Athletics Dep’t, 510 F.3d 681, 695 (7th Cir.
2007) (“In deciding whether an entity is an agency of the state, the most important factor is the extent of
the entity’s financial autonomy from the state.” (quotations omitted) (emphasis added)); Kashani v.
Purdue Univ., 813 F.2d 843, 845 (7th Cir. 1987) (“The most important factor is the extent of the entity’s
financial autonomy from the state.” (emphasis added)). Accordingly, the Court applies the test that
applies to individual actors as set out above.
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Eleventh Amendment immunity when they are “carrying out non-discretionary duties subject to

state policy control”).

        However, Plaintiffs argue that their case does not challenge anything the treasurers or

clerks actually do during the tax sale process, whether it is collecting property taxes or issuing

tax deeds. Rather, Plaintiffs frame their amended complaint to target “actions Defendants take,

or do not take, after the enforcement of the tax law is complete and the taxes are paid.” Doc. 96

at 73 (emphasis omitted). Those actions the treasurers and clerks allegedly fail to take include

rendering just compensation to Plaintiffs for equity they owned in their properties greater than

the Tax Amounts after the tax buyers obtain tax deeds. Plaintiffs argue that state law does not

compel treasurers and clerks to withhold such compensation—and more to the point, that the

Constitution compels them to provide it—so the Eleventh Amendment does not protect their

failure to provide it.

        Accordingly, under Plaintiffs’ conception of their amended complaint, the Eleventh

Amendment does not protect the clerks and treasurers from this suit because they are not suing

the officials for any act they performed that state law compelled them to do. Cf. Ruehman, 34 at

528–29 (Illinois county sheriffs not immune from suit where county governments designed and

implemented challenged warrant-tracking system because “State law requires the Sheriff to

arrest the right people but says nothing about how he should do it”). The Court therefore

declines to dismiss Plaintiffs’ amended complaint on Eleventh Immunity grounds. 5



5
  The Kane County Defendants, in their reply brief, urge the Court to reject Plaintiffs’ claims on Eleventh
Amendment grounds because they “are asking this court to order the Defendants to do something that
there is no statutory mechanism to do,” namely to compensate them for any surplus equity they lost as a
result of the Illinois tax sale procedures. Doc. 97 at 7. But even if state law does not explicitly authorize
Defendants to provide such compensation, if their failure to do so violates the Constitution then
Defendants will nevertheless be liable for damages. See Spiegel v. McClintic, 916 F.3d 611, 617 (7th Cir.
2019) (“[A] municipality can be liable under § 1983 only ‘when execution of a government’s policy or
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II.     Whether Quasi-Judicial Immunity Applies

        The Court next turns to the Kane County Defendants’ quasi-judicial immunity argument,

which the other Defendants adopted by reference. Doc. 91 at 11–12; see also Doc. 87 at 14 n.4

(the Other Counties “join[ing] in and adopt[ing] the . . . quasi-immunity” argument in Kane

County’s brief); Doc. 88 at 14 (same for Lake County Defendants); Doc. 89 at 14 (same for

DuPage County Defendants).

        Quasi-judicial immunity is a form of absolute immunity from suit, ordinarily reserved for

“members of quasi-judicial adjudicatory bodies when their duties are functionally equivalent to

those of a judge or prosecutor.” Heyde v. Pittenger, 633 F.3d 512, 517 (7th Cir. 2011).

“Absolute immunity is only accorded for limited functions; ‘[t]he presumption is that qualified

rather than absolute immunity is sufficient to protect government officials in the exercise of their

duties.’” Wilson v. Kelkhoff, 86 F.3d 1438, 1443 (7th Cir. 1996) (quoting Burns v. Reed, 500

U.S. 478, 486–87 (1991)). Although the doctrine primarily protects officials performing

discretionary acts, see Snyder v. Nolen, 380 F.3d 279, 288 (7th Cir. 2004) (quasi-judicially

protected acts include “resolving disputes between parties, or authoritatively adjudicating private

rights”), those performing ministerial duties “in reliance on a facially valid court order are

entitled to quasi-judicial immunity from suit under § 1983 for damages,” Henry v. Farmer City

State Bank, 808 F.2d 1228, 1239 (7th Cir. 1986); see also Zoretic v. Darge, 832 F.3d 639, 644

(7th Cir. 2016) (official can obtain quasi-judicial immunity by “engaging in a non-discretionary

or administrative function, but at the explicit direction of a judicial officer”).

        The Kane County Defendants argue that the county clerks and treasurers are entitled to

absolute quasi-judicial immunity because Plaintiffs’ lawsuit challenges the issuance of tax deeds


custom . . . inflicts the [constitutional] injury.’” (quoting Monell v. Dep’t of Soc. Servs. of City of N.Y.,
436 U.S. 658, 694 (1978))).
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following a tax buyer’s petition to take title of the original property owner’s land. Because the

clerks and treasurers only issue these deeds following a state court order, Defendants view the

performance of this duty as an extension of the judicial system that entitles the clerks and

treasurers to quasi-judicial immunity. This argument again hinges on the target of Plaintiffs’

amended complaint. As with the Eleventh Amendment analysis, if Plaintiffs were suing the

county clerks and treasurers for non-discretionary acts such as issuing the tax deeds that resulted

in the tax buyers taking title to their former properties, then quasi-judicial immunity would

clearly protect them because they performed an “administrative function”—issuing the tax

deed—“at the explicit direction of a judicial officer”—a court order. Zoretic, 832 F.3d at 644.

However, Plaintiffs argue that their amended complaint “do[es] not challenge the issuance of tax

deeds” but instead the lack of just compensation following the loss of their properties. Doc. 96

at 74 (emphasis omitted). This is a separate issue from whether the county officials

appropriately acted in issuing the tax deeds. Although the Kane County Defendants state that the

law requires them to issue a tax deed, this fails to address Plaintiffs’ core theory that the

Constitution also requires the government to provide just compensation for any taking of

property, which Defendants have allegedly failed to do. As such, Plaintiffs’ amended complaint

does not take issue with an action by the county clerks or treasurers that would be entitled to

quasi-judicial immunity, see Henry, 808 F.2d at 1239, but rather unconstitutional omissions,

which are not the result of any duties that were “functionally equivalent to those of a judge or

prosecutor,” Heyde, 633 F.3d at 517, or done at the behest of a judicial officer, see Zoretic, 832

F.3d at 644. Accordingly, the Court finds that Defendants are not entitled to quasi-judicial

immunity for allegedly failing to compensate Plaintiffs after issuing tax deeds to tax buyers.




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III.    Whether Rooker-Feldman Abstention Applies

        The Court next addresses Rooker-Feldman abstention, which the DuPage County

Defendants argue in their brief, and which the other Defendants also incorporated by reference.

Doc. 89 at 12–13; see also Doc. 87 at 12 (the Other Counties “incorporat[ing] by reference

DuPage County’s argument on the application of Rooker-Feldman”); Doc. 88 at 15 (same for

Lake County Defendants); Doc. 91 at 13 (same for Kane County Defendants). Defendants argue

that this doctrine bars Plaintiffs’ claims because the claims, in effect, target state court decisions

that stripped Plaintiffs of title to their former properties.

        The Rooker-Feldman abstention doctrine says that federal courts other than the Supreme

Court lack authority to hear challenges to state court decisions. It derives from two Supreme

Court cases that held that inferior federal courts have “no authority to review final judgments of

a state court in judicial proceedings.” D.C. Court of Appeals v. Feldman, 460 U.S. 462, 482

(1983); Rooker v. Fid. Tr. Co., 263 U.S. 413, 416 (1923) (“The jurisdiction possessed by the

District Courts is strictly original.”). The doctrine bars “cases brought by state-court losers

complaining of injuries caused by state-court judgments rendered before the district court

proceedings commenced.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284

(2005). The Seventh Circuit recently described the four necessary criteria for Rooker-Feldman

to apply: “First, the federal plaintiff must have been a state-court loser. Second, the state-court

judgment must have become final before the federal proceedings began. Third, the state-court

judgment must have caused the alleged injury underlying the federal claim. Fourth, the claim

must invite the federal district court to review and reject the state-court judgment.” Gilbank v.

Wood Cnty. Dep’t of Human Servs., 111 F.4th 754, 766 (7th Cir. 2024) (en banc). “[T]he crucial

point is whether ‘the district court is in essence being called upon to review the state-court



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decision.’” Ritter v. Ross, 992 F.2d 750, 754 (7th Cir. 1993) (quoting Feldman, 460 U.S. at 483–

84 n.16).

        As discussed above, Plaintiffs assert that their amended complaint does not challenge the

outcome of any state court decision, only the counties’ failures to compensate them for the loss

of any excess equity resulting from losing their properties to tax buyers. If Plaintiffs sought to

undo the tax deeds the tax buyers obtained or otherwise requested the return of their former

properties as forms of relief, then the DuPage County Defendants’ argument that the Rooker-

Feldman doctrine applies might be more on-point because it applies if there is “no way for the

injury complained of by a plaintiff to be separated from a state court judgment.” Sykes, 837 F.3d

at 742. But Plaintiffs disavow seeking such relief. See Doc. 96 at 71 (“Defendants can take, and

tax buyers can keep, the properties in issue.”). They only ask for monetary compensation that

they claim the counties owed them when they lost their properties. Although their injuries

clearly derive from the state court orders to grant the tax buyers deeds to Plaintiffs’ former

properties, the requested relief does not “call[] upon [this Court] to review the state court

decision” to issue the tax deeds. Jakupovic v. Curran, 850 F.3d 898, 902 (7th Cir. 2017).

Accordingly, the Rooker-Feldman abstention doctrine does not apply. 6

IV.     Whether the Statute of Limitations Bars Plaintiffs’ Claims

        The Court now turns to the DuPage County Defendants’ argument that the statute of

limitations bars Plaintiffs’ claims, which all other Defendants join except for the Kane County

Defendants. Doc. 89 at 11–12; see also Doc. 87 at 22 (the Other Counties adopting in part the



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  The DuPage County Defendants also argue that Plaintiffs could have raised these challenges in the state
court proceedings that resulted in the issuance of tax deeds. See Jakupovic, 850 F.3d at 902 (Rooker-
Feldman applies only when federal “plaintiff had a reasonable opportunity to raise the [federal] issue in
state court proceedings”). The Court does not reach this issue because it determines that Rooker-Feldman
does not apply for separate reasons.
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DuPage County Defendants’ argument); Doc. 88 at 15 (same for Lake County Defendants). The

DuPage County Defendants argue that they located a tax deed related to Sharritt’s property

issued outside of the applicable two-year statute of limitations, meaning that her claims are

untimely.

       Courts only dismiss complaints under Rule 12(b)(6) for running afoul of statutes of

limitations “when the allegations of the complaint reveal that relief is barred.” Logan v. Wilkins,

644 F.3d 577, 582 (7th Cir. 2011). The Court cannot consider extrinsic evidence unless

Defendants point to “documents that are central to the complaint and are referred to in it.”

Williamson v. Curran, 714 F.3d 432, 436 (7th Cir. 2013); see also Burke, 714 F.3d at 505 (“In

general, a court may only consider the plaintiff’s complaint when ruling on a Rule 12(b)(6)

motion.”).

       The tax deed the DuPage County Defendants located is one that they “reasonably

assum[e]” is related to Sharritt’s claims. Doc. 89 at 11 n.3. At the motion to dismiss stage, the

Court does not assume facts in Defendants’ favor, reasonably or otherwise. See Berger v. Nat’l

Collegiate Athletic Ass’n, 843 F.3d 285, 289–90 (7th Cir. 2016) (when reviewing motion to

dismiss the court “construe[s] [the complaint] in the light most favorable to the nonmoving party

. . . and draw all inferences in [its] favor”). Moreover, Plaintiffs’ amended complaint does not

refer to a specific tax deed issued against Sharritt’s property, meaning the Court cannot consider

this extrinsic evidence at this time. See Williamson, 714 F.3d at 436 (courts may only consider

“documents that are central to the complaint and are referred to in it” when ruling on motion to

dismiss). Defendants’ arguments based on this document, which may or may not be related to




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Sharritt’s seized property, are unavailing, so the Court declines to dismiss any portion of the

amended complaint on this basis. 7

V.      Whether Plaintiffs Have Standing to Sue Will, Lake, Kane, and Winnebago
        Counties

        The Will, Lake, Kane, and Winnebago County Defendants (the “Standing Counties”)

argue that Plaintiffs lack standing to represent the class of property owners that Plaintiffs propose

in the amended complaint because the named Plaintiffs fail to allege an injury that any of the

Standing Counties inflicted upon them. Plaintiffs argue that they have plausibly alleged that the

Standing Counties are “juridically linked” with the other Defendants under the doctrine

established in Payton v. County of Kane, 308 F.3d 673 (7th Cir. 2002), so they may represent

absent class members from the Standing Counties even without having suffered an actual alleged

injury at their hands.

        The Constitution requires that a plaintiff must have standing to bring suit in federal court.

See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (“[S]tanding is an essential and

unchanging part of the case-or-controversy requirement of Article III.”). “[T]o establish

standing, a plaintiff must show (i) that he suffered an injury in fact that is concrete,

particularized, and actual or imminent; (ii) that the injury was likely caused by the defendant;

and (iii) that the injury would likely be redressed by judicial relief.” TransUnion LLC v.




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  Defendants may raise this defense if this case reaches summary judgment. The Court has concerns with
the dearth of details in the amended complaint concerning the “when” of Plaintiffs’ claims. It would
behoove Plaintiffs to ensure that their claims will survive such an easily ascertainable affirmative defense
before embarking on a costly discovery process. Although Plaintiffs claim that a twenty-year statute of
limitations applies to inverse condemnation claims, they do not fully develop their argument that they
even bring such claims. As such, the Court takes no stance on whether Illinois’ two-year, 735 Ill. Comp.
Stat. 5/13-202 (§ 1983 statute of limitations), five-year, 735 Ill. Comp. Stat. 5/13-205 (catch-all statute of
limitations), or twenty-year, Super Mix of Wis., Inc. v. Nat’l Gas Pipeline Co. of Am., LLC, 2020 IL App
(2d) 190034, ¶¶ 37, 45 (inverse condemnation statute of limitations), statute of limitations applies to this
case.
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Ramirez, 594 U.S. 413, 423 (2021). The second element ordinarily requires the plaintiff to suffer

an injury at the hands of each defendant she sues. See DaimlerChrysler Corp. v. Cuno, 547 U.S.

332, 342 (2006) (injury must be “fairly traceable to the defendant’s allegedly unlawful conduct”

for standing); Payton, 308 F.3d at 678 (“[T]o bring a valid case, a plaintiff must allege that a

defendant—the very defendant sued—has somehow wronged her in a legally cognizable way.”);

cf. Gas Tech. Inst. v. Rehmat, No. 05 C 2712, 2006 WL 3422190, at *21 (N.D. Ill. Nov. 27,

2006) (dismissing several defendants from RICO case when plaintiffs failed to allege injuries

resulting from the dismissed defendants’ conduct). Plaintiffs’ amended complaint does not

allege that any of the Standing Counties caused them injury—in the Standing Counties’ eyes,

this resolves the standing inquiry in their favor and requires their dismissal from this case.

       But Payton adds a wrinkle to the rote standing analysis the Standing Counties urge this

Court to perform. In Payton, six plaintiffs sued nineteen Illinois counties, claiming that they

unlawfully imposed a bail fee greater than the set bail amount as a condition of their release.

Kane County was allegedly responsible for assessing the challenged bail fee against four of the

plaintiffs, and DuPage County allegedly assessed the fee against the remaining two—none of the

plaintiffs alleged that any of the other seventeen named counties caused them injury. Payton,

308 F.3d at 676–77. However, the plaintiffs also sued on behalf of a class comprised of those

who had been charged the fee in all nineteen counties—they argued that the juridical link

doctrine “entitle[d] them to sue all similarly situated counties in a single case if they [could]

show that their injuries [arose] out of a common legal rule . . . that is binding on, and followed to

various degrees by, all the named counties.” Id. at 678.

       The Payton court adopted the juridical link doctrine. The court started by canvassing

cases that “suggested that if all the defendants took part in a similar scheme that was . . .



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mandated by a uniform state rule, it was appropriate to join as defendants even parties with

whom the named class representative did not have direct contact.” Id. at 679; see id. at 679–80

(collecting cases). Those factors were present in Payton because “the bail bond fee [was]

imposed pursuant to a state statute” making it “reasonable for the putative plaintiff class to try to

hold all counties accountable within one suit” where the “constitutionality of a bond fee . . .

should not differ from one county to the next.” Id. at 680.

        Then, after noting that it could not perform a proper class certification analysis “without a

proper record,” the court discussed certain class action principles that made the adoption of the

juridical link doctrine appropriate. Id. It observed that “once a class is properly certified,

statutory and Article III standing requirements must be assessed not simply with reference to the

individual named plaintiffs. The certification of a class changes the standing aspects of a suit,

because ‘[a] properly certified class has a legal status separate from and independent of the

interest asserted by the named plaintiff.’” Id. (quoting Whitlock v. Johnson, 153 F.3d 380, 384

(7th Cir. 1998)). The court also focused on how the “critical actor” shifts between the named

plaintiff—for diversity of citizenship, for example, see Supreme Tribe of Ben–Hur v. Cauble,

255 U.S. 356, 366–67 (1921)—and the class as a whole—such as for claim preclusion purposes,

see Tice v. Am. Airlines, 162 F.3d 966, 972 (7th Cir. 1998). It concluded that there was “no

reason to truncate potentially efficient uses of the class action device when they are otherwise

not prohibited and here the class action device may be superior to 19, or 102, different cases in

each Illinois county challenging the effects of the same state statute.” Payton, 308 F.3d at 681. 8


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  The Standing Counties urge the Court to reject Payton in favor of the Sixth Circuit’s rejection of the
juridical link doctrine in Fox v. Saginaw County, 67 F.4th 284 (6th Cir. 2024). In that case, the court
determined that the “juridical link doctrine does not comport with the Supreme Court’s standing cases” or
with historical jurisprudence. Id. at 294. However, as the Fox court acknowledged, “the [Supreme] Court
does not have a decision directly addressing the [juridical link] doctrine.” Id. at 298. Assuming arguendo
that this Court found Fox’s reasoning more persuasive than Payton’s, it would still be improper for it to
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        To apply Payton, the Court first must “defin[e] the class and assess[] whether the

proposed class representatives can satisfy all four requirements of Rule 23(a), and at least one of

the categories of Rule 23(b),” before resolving issues of standing. Id. at 680 (district courts

should “consider issues of class certification prior to issues of standing”). But this places the

Court in a bind:

                Compliance with the Rule 23 prerequisites theoretically should not
                be tested by a motion to dismiss. The proper vehicle is Rule
                23(c)(1)(A), which provides that, at an early practicable time, the
                court must “determine by order whether to certify the class as a
                class action.” Therefore, a party wishing to challenge the validity
                of maintaining the action under Rule 23 should move for a
                determination under Rule 23(c)(1) that a class action is
                unwarranted.

Wright, Miller & Kane, Federal Practice & Procedure, Civil 3d § 1798. The Seventh Circuit

has made clear that district courts should not make class certification decisions “in a fact-free

zone.” Priddy v. Health Care Serv. Corp., 870 F.3d 657, 660 (7th Cir. 2017). Typically, courts

only decide to certify (or not certify) a class after the parties have engaged in class-focused

discovery, completed briefing the arguments for and against certification, and sometimes made

additional arguments at a certification hearing. See Buonomo v. Optimum Outcomes, Inc., 301

F.R.D. 292, 295 (N.D. Ill. 2014) (when a “dispute concerning class certification is factual in

nature and discovery is needed to determine whether a class should be certified, a motion to

strike the class allegations at the pleading stage is premature” (citation omitted) (internal




cast aside binding circuit precedent in favor of an out-of-circuit holding. “This Court must follow
Seventh Circuit decisions even if it believes those decisions are wrong or mistaken.” Laudicina v. City of
Crystal Lake, 328 F.R.D. 510, 515 (N.D. Ill. 2018); accord Donohoe v. Consol. Operating & Prod. Corp.,
30 F.3d 907, 910 (7th Cir. 1994) (“Ours is a hierarchical judiciary, and judges of inferior courts must
carry out decision they believe mistaken.”). As such, it is not the Court’s place to opine on the merits of
the Sixth Circuit’s more recent holding as compared to the Seventh Circuit’s binding one. The Standing
Counties’ arguments are best reserved for any appeal the Seventh Circuit might someday hear resulting
from this case.
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quotation marks omitted)); Boatwright v. Walgreen Co., No. 10 C 3902, 2011 WL 843898, at *2

(N.D. Ill. Mar. 4, 2011) (“Because a class determination decision generally involves

considerations that are enmeshed in the factual and legal issues comprising the plaintiff’s cause

of action, . . . a decision denying class status by striking class allegations at the pleading stage is

inappropriate.”). Indeed, many of the arguments Defendants raise in this case—such as whether

common questions of law or fact predominate over the proposed class, especially with respect to

the difficulty of calculating potential damages for each individual plaintiff—highlight why it

would be a mistake for this Court to prematurely opine on the certification question before the

parties have fully developed the record. Accordingly, the Court defers this decision until it has a

full record to consider and limits its assessment to determining whether the amended complaint

plausibly alleges facts that fairly invoke a juridical link between the Standing Counties and their

co-Defendants.

        Plaintiffs state that Defendants “follow the same practices and act in a uniform manner

toward delinquent taxpayers such as Plaintiffs and Class members according to the same Illinois

statutes.” Doc. 78 ¶ 128. Given that Defendants’ common practices are a creature of Illinois

law, “constitutionality of [the recovery procedure] . . . should not differ from one county to the

next.” Payton, 308 F.3d at 680. Plaintiffs have thus plausibly alleged that the Standing Counties

are juridically linked with the other counties against whom Plaintiffs have claimed a direct

injury. That is enough to keep them in this case until the issue of class certification is properly

before the Court. See generally id.; see also Snyder v. U.S. Bank N.A., 387 F. Supp. 3d 867, 873

(N.D. Ill. 2019) (“Although the defendants are correct that the standing analysis in pre-

certification class action suits is generally confined to the named plaintiffs, the Seventh Circuit

has admonished that district courts must in some cases defer consideration of the standing



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question until after assessing class certification. Specifically, in putative class actions where

multiple defendants are accused of violating class members’ rights as part of a common scheme

subject to common proof—sometimes called a juridical link—the Seventh Circuit has held that

district courts must consider issues of class certification prior to issues of standing.” (citation

omitted) (internal quotation marks omitted)); Hillgamyer v. ReliaStar Life Ins. Co., No. 11 C

729, 2013 WL 12234289, at *3 (W.D. Wis. Feb. 27, 2013) (“Having pled a viable breach of

contract claim against one of the defendants . . . plaintiff Hillgamyer’s putative class action claim

passes the initial standing inquiry.”).

        Accordingly, the Court denies the Standing Counties’ motion to dismiss for lack of

standing without prejudice. 9

VI.     Whether Plaintiffs’ Claims in Their Amended Complaint Satisfy Rule 12(b)(6)

        Having addressed Defendants’ threshold arguments, the Court turns to the sufficiency of

Plaintiffs’ amended complaint. Plaintiffs assert: (1) a takings claim under the Fifth and

Fourteenth Amendments, and the Illinois Constitution; (2) a due process claim under the

Fourteenth Amendment and the Illinois Constitution; and (3) an excessive fines claim under the

Eighth and Fourteenth Amendments, and the Illinois Constitution. Defendants argue that

Plaintiffs’ amended complaint fails to state a claim with respect to any of these three alleged

constitutional violations, and that it fails to sufficiently allege the necessary facts to impose

liability against Defendants under Monell.




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 For the same reasons, the Court also denies the Other Counties’ motions to strike Plaintiffs’ class
allegations. See also Balabanos v. N. Am. Inv. Grp., Ltd., 708 F. Supp. 1488, 1497 (N.D. Ill. 1988) (“In
general, the motion to strike is disfavored by the federal courts.”).
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        A.      Count I – Takings Claim

        The Takings Clause of the Fifth Amendment to the United States Constitution, applicable

to the States through the Fourteenth Amendment, states that “private property [shall not] be

taken for public use, without just compensation.” U.S. const., amend. V. The Supreme Court of

Illinois has linked interpretations of the Takings Clause of the Illinois Constitution, found in

Article I, § 15, with its federal counterpart so long as plaintiffs bring a claim for “taken” property

(as Plaintiffs do here), as opposed to “damaged” property, for which the Illinois Constitution also

provides compensation. Hampton v. Metro. Water Reclamation Dist. of Greater Chicago, 2016

IL 119861, ¶ 16 (“United States Supreme Court decisions regarding what constitutes a taking are

relevant for purposes of determining whether a plaintiff has sufficiently alleged a taking under

the Illinois Constitution.”); see Int’l Coll. of Surgeons v. City of Chicago, 153 F.3d 356, 363 (7th

Cir. 1998) (“The greater protection provided by the Illinois Takings Clause stems from the fact

that the clause not only guards against a governmental taking of private property but also guards

against governmental ‘damage’ to private property. . . . If the plaintiff cannot make this showing

[of damage], then his claim is analyzed under the same standard employed under the federal

constitution[.]”).

        To assert a takings claim under the Fifth Amendment, a plaintiff must allege “(1) that the

governmental entity ‘took’ his property, either through a physical taking or through unduly

onerous regulations; (2) that the taking was for a public use; and (3) that, no matter what type of

property (real or personal) was taken, the government has not paid just compensation.” Conyers

v. City of Chicago, 10 F.4th 704, 710–11 (7th Cir. 2021).

        Defendants raise two arguments against Plaintiffs’ takings claims. First, they argue that

no takings occurred because private tax buyers—not the county governments—received the



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surplus equity from any properties whose value exceeded the amount of property tax due, so the

Fifth Amendment does not apply. Second, Defendants assert that even if takings occurred, the

Indemnity Fund provides Plaintiffs a way to recover any lost equity, and Defendants cannot be

liable for Plaintiffs’ failure to avail themselves of this method of being made whole. Plaintiffs

rebut both points, first contending that the Fifth Amendment protects their property rights

regardless of whether a public or private entity receives the benefit of any taking, and second that

the Indemnity Fund does not provide “just compensation” within the meaning of the Fifth

Amendment for their lost equity. The Court addresses these arguments in turn.

               1.      Whether Takings Occurred

       Defendants argue that the Fifth Amendment only prohibits the government from

collecting and retaining any surplus property value in excess of the delinquent property taxes due

as part of a tax sale. Defendants argue that the provisions of the Illinois Tax Code accordingly

cannot violate the Fifth Amendment because the municipal governments do not collect or retain

any more than the amount of property taxes to which they are entitled because tax buyers only

pay them the Tax Amounts in exchange for the right to place a lien on and perhaps eventually

take title to a delinquent property owner’s property. In Defendants’ eyes, it is irrelevant that the

original owners who ultimately lose title to their property to tax buyers suffer a greater loss than

what they owed in delinquent property taxes because any excess loss goes to the tax buyer, who

is a private entity. Plaintiffs respond that the Fifth Amendment makes it unconstitutional for

original property owners to lose more equity than what they owed in property taxes without

compensation, regardless of who ultimately benefits. To Plaintiffs, Defendants’ attempt to pass

the buck to the tax buyers is a red herring because the Fifth Amendment does not care whether




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the government or a private party receives the windfall; what matters is that it is

unconstitutionally coming out of the original owner’s pocket.

       Defendants’ argument defies the Fifth Amendment’s text and established Supreme Court

precedent. The Fifth Amendment prohibits the government from “tak[ing] for public use”

privately-owned property. It does not limit this prohibition to situations where the government

also retains the property: “a State may transfer property from one private party to another if

future ‘use by the public’ is the purpose of the taking.” Kelo v. City of New London, 545 U.S.

469, 477 (2005); see also Haw. Housing Auth. v. Midkiff, 467 U.S. 229 (1984) (finding

constitutional a state law authorizing use of condemnation proceedings to seize land from large

landowners—with compensation—for purpose of transferring title to renters or other local

Hawaiians). Indeed, the Illinois tax sale system is essentially a mechanism for the counties to

“transfer property from one private party to another” for the eminently justifiable purpose of

recovering overdue taxes. Kelo, 545 U.S. at 477. Nothing in the Fifth Amendment requires

property “taken for public use” to remain in the government’s hands, and Defendants’ briefs are

conspicuously light on caselaw supporting this position.

       Instead, Defendants rest their argument on select phrases from the Supreme Court’s

recent decision in Tyler v. Hennepin County, 598 U.S. 631 (2023), which ultimately cannot bear

the weight Defendants place on them. In Tyler, the plaintiff sued Hennepin County for seizing

her condominium—on which she owed $15,000 in delinquent property taxes—auctioning it for

$40,000, and then failing to remit to her the $25,000 surplus. Id. at 635–36. The Court found

that this was an unconstitutional taking, acknowledging that Hennepin County had the “power to

sell Tyler’s home to recover the unpaid property taxes” but could not “use the toehold of the tax

debt to confiscate more property than was due.” Id. at 639. By refusing to pay Tyler the



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$25,000 surplus, Hennepin County violated the Fifth Amendment by failing to provide her with

“just compensation” for the taking.

       The Other Counties focus on the Supreme Court’s explanation that Hennepin County

could not “use the toehold of the tax debt to confiscate more property than was due,” id. at 639,

arguing that because they did not keep the total value of the property Plaintiffs lost, they did not

carry out a taking within the definition of the Fifth Amendment. But “confiscating” and

“retaining” are separate acts, and Tyler did not only apply to the latter. Defendants “confiscate”

all of a delinquent property owner’s property when they transfer title to a tax buyer pursuant to

the Illinois Tax Code. Cf. Kelo, 545 U.S. at 477 (assuming, without deciding, that private

entity’s exercise of eminent domain authority constituted a taking that required compensation).

That is the exact thing Tyler prohibits—without just compensation. For their part, the DuPage

County Defendants advance a similar line of argument, pointing to the Tyler Court’s quip that

the “taxpayer must render unto Caesar what is Caesar’s but no more.” Id. at 647. But this

ignores that Plaintiffs ultimately render the entire value of their properties unto Caesar, who in

turn renders it unto Antony. This still constitutes a taking, see Kelo, 545 U.S. at 477, for which

the Fifth Amendment demands compensation for anything greater than what Plaintiffs owed to

the counties in overdue property taxes, see Tyler, 598 U.S. at 639.

       Accordingly, the Court finds that Plaintiffs’ amended complaint plausibly alleges that

their losses of excess value in their respective properties to tax buyers constitute takings within

the meaning of the Fifth Amendment.

               2.      Whether the Indemnity Fund Provides “Just Compensation”

       Defendants—through the DuPage County Defendants’ brief—also argue that the

existence of the Indemnity Fund forecloses Plaintiffs’ takings claim. This argument comes in



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two flavors: first, that the existence of the Indemnity Fund is analogous to the procedures the

Supreme Court blessed in Nelson v. City of New York, 352 U.S. 103 (1956), that automatically

returned surplus equity to a property owner, meaning Plaintiffs’ failures to avail themselves of

the procedure lie squarely on their own shoulders; and second, that the Indemnity Fund provides

constitutionally sufficient compensation, rendering this litigation superfluous.

       In Nelson, the Supreme Court considered the constitutionality of a law that allowed New

York City to seize properties with outstanding water bills, sell them, and pocket the excess after

providing notice to the property owners. Id. at 105. However, New York courts had interpreted

the law to require a separate sale of all properties where the duly notified owner appeared and

asserted that the property was more valuable than the unpaid bills; in such circumstances, the

owner would automatically receive any surplus funds resulting from the auction. Id. at 110. The

Court held that because the law provided property owners an opportunity “to redeem [the

property] or to recover[] any surplus,” it did not result in an unconstitutional taking if a property

owner failed to avail himself of the procedures. Id.

       Defendants argue that the Indemnity Fund is like the procedures in Nelson “by expressly

providing for a method by which an owner may seek to recover any surplus sale proceeds or

excess value in the property.” Doc. 89 at 7. This abstracts too much from what the procedures at

issue in Nelson did and too charitably describes the machinations of the Indemnity Fund. The

statute authorizing the Indemnity Fund provides that a petitioner seeking indemnity from the loss

of property in a tax sale may only recover “the fair cash value of the property as of the date the

tax deed was issued less any mortgages or liens on the property, and the award will not exceed

$99,000.” 35 Ill. Comp. Stat. 200/21-305(1). Awards for $99,000 or less are only granted if, “in

the discretion of the [petitioned] Court, the equities warrant the action.” Id. If the petitioner



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requests even a penny more, he must show that “the loss of his . . . property was not attributable

to his . . . own fault or negligence.” Id.

        Several critical differences between the Nelson procedures and the Indemnity Fund make

the comparison inappropriate. The New York City law upheld in Nelson only required a

property owner to make a brief pre-deprivation statement that her property was worth more than

the lien, after which the City would conduct a separate auction and automatically return all

surplus funds—no matter the amount. See 352 U.S. at 110. By contrast, the Indemnity Fund is a

post-deprivation form of relief that limits the amount a petitioner is entitled to recover—if at all

based on a court’s equitable judgment—and imposes a stricter evidentiary burden on recoveries

greater than an arbitrary amount. See 35 Ill. Comp. Stat. 200/21-305(1). In other words, under

Nelson’s procedures, recovery was automatic and the amount was readily ascertainable (i.e.,

New York City sold the property at auction, took what it was entitled to, and returned the rest);

under the Indemnity Fund, a petitioner has no guarantee of recovering anything and the total

amount depends on the whims of the reviewing court’s equitable balancing, which can lead to

uncertain outcomes. See Mamloff v. Kerr, 227 Ill. 2d 118, 125 (2007) (“In its broadest and most

general signification, [equity] denotes the spirit and the habit of fairness, justness, and right

dealing which would regulate the intercourse of men with men.” (quotations omitted)).

        Second, for many of these same reasons, the Indemnity Fund is no substitute for “just

compensation.” U.S. Const. amend. V. As noted, the Indemnity Fund’s governing law requires

a Court to find that “the equities warrant” payments of up to $99,000, and that the property

owner was not negligent if he claims indemnity for any more than that amount. 35 Ill. Comp.

Stat. 200/21-305(1). But the Supreme Court has long and consistently held that compensation

“must be a full and perfect equivalent for the property taken.” Monongahela Navigation Co. v.



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United States, 148 U.S. 312, 326 (1893); see Brown v. Legal Found. of Wash., 538 U.S. 216,

235–36 (2003) (“[T]he ‘just compensation’ required by the Fifth Amendment is measured by the

property owner’s loss rather than the government’s gain.”); United States v. Miller, 317 U.S.

369, 373 (1943) (“[C]ompensation means the full and perfect equivalent in money of the

property taken.”); Kimball Laundry Co. v. United States, 338 U.S. 1, 23 (1949) (Douglas, J.,

dissenting) (“The truth of the matter is that [in this case] the United States is being forced to pay

not for what it gets but for what the owner loses.”); Olson v. United States, 292 U.S. 246, 255

(1934) (compensation’s “equivalent is the market value of the property at the time of the taking

contemporaneously paid in money”); Boston Chamber of Com. v. Boston, 217 U.S. 189, 195

(1910) (“[T]he question is what has the owner lost, not what has the taker gained.”); see also

City of Monterey v. Del Monte Dunes at Monterey, Ltd., 526 U.S. 687, 717 (1999) (“When the

government repudiates this duty [to provide just compensation for a taking], either by denying

just compensation in fact or by refusing to provide procedures through which compensation may

be sought, it violates the Constitution.”). A procedure that does not provide certain and full

compensation, such as the Indemnity Fund, is therefore constitutionally deficient as a mechanism

to satisfy the Fifth Amendment.

       Colantuono v. Novak, 2011 IL App (2d) 100957-U, illustrates why the Indemnity Fund

fails to satisfy the Fifth Amendment. In that case, the Illinois Appellate Court upheld a lower

court’s finding that a petitioner was not entitled to any recovery after losing his property to tax

sale proceedings (i.e., there would be no compensation). The trial court faulted the petitioner for

failing to act after receiving several notices of his delinquent property taxes and one notice

informing him that “his property had been sold and he had less than five months to redeem the

property.” Id. ¶ 21. “Based on the petitioner’s repeated failures to act after learning that his



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delinquent taxes had not been paid,” the appellate court found the trial court’s decision to deny

him equitable recovery proper. Id. Instead of providing the original owner “the full and perfect

equivalent in money of the property taken,” Olson, 292 U.S. at 255, the government paid him

nothing. The Indemnity Fund cannot both be the proper procedure that former owners can

exercise to receive compensation for their lost land, see Doc. 98 at 11 (“Post-Tyler, there is no

takings claim at all if the statutory framework includes a surplus return mechanism. That is what

the Indemnity Fund is.”), and a gatekeeping mechanism that prevents those who lost their land

from receiving compensation, see Colantuono, 2011 IL App (2d) 100957-U, ¶ 21. In its current

form, the Indemnity Fund is not a font of just compensation that satisfies the Fifth Amendment’s

clear compensation requirement. See Monongahela Navigation Co., 148 U.S. at 326 (just

compensation is “a full and perfect equivalent for the property taken”).

         Accordingly, the Court finds that Plaintiffs’ complaint states a claim for an

unconstitutional taking without compensation. 10

         B.     Count II – Substantive and Procedural Due Process Claim

         Defendants next argue that Plaintiffs’ amended complaint fails to state a claim for both

substantive and procedural due process violations. In their brief, Plaintiffs frame their

allegations as stating a due process claim, pleaded in the alternative to their takings claim. See

Doc. 96 at 49–52; id. at 50 n.19. However, the “problem with using substantive due process to


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   The DuPage County Defendants briefly argue that Tyler should not apply retroactively and that they
should not face damages due to what they characterize as their good-faith application of the law pre-
Tyler. Their retroactivity argument is underdeveloped and, more importantly, wrong. See Lund v. City of
Rockford, 956 F.3d 938, 944 (7th Cir. 2020) (“[W]hen the Supreme Court ‘applies a rule of federal law to
the parties before it, that rule is the controlling interpretation of federal law and must be given full
retroactive effect . . . regardless of whether such events predate or postdate [the Supreme Court’s]
announcement of the rule.’”). And their argument that they should not be liable for damages due to their
good-faith execution of Illinois law is not ripe for adjudication at the motion to dismiss stage. Cf. Hoover
v. Said, 629 F. Supp. 3d 826, 834 (N.D. Ill. 2022) (“There has been no judicial finding of good faith here,
and this Court certainly can’t make that type of finding on a Rule 12(b)(6) motion to dismiss.”).
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do the work of the Takings Clause is that [the Supreme Court has] held it cannot be done.” Stop

the Beach Renourishment, Inc. v. Fla. Dep’t of Env’t Prot., 560 U.S. 702, 721 (2010); cf.

Hernandez ex rel. Hernandez v. Foster, 657 F.3d 463, 478 (7th Cir. 2011) (“In moving for

summary judgment, the defendants did not address the parents’ substantive due process claims

premised on taking Jaymz into protective custody. Nonetheless, these claims stand or fall with

Jaymz’s Fourth Amendment claim premised on his removal[.]”). To the extent that Plaintiffs

attempted to state a procedural due process claim in their amended complaint, they waived it by

failing to respond to Defendants’ arguments against a procedural due process claim. See

Schaefer v. Universal Scaffolding & Equip., LLC, 839 F.3d 599, 607 (7th Cir. 2016)

(“Perfunctory and undeveloped arguments are waived, as are arguments unsupported by legal

authority.”).

       Accordingly, the Court dismisses Count II of Plaintiffs’ amended complaint with

prejudice to the extent it pleads an alleged violation of substantive due process, and without

prejudice to the extent it pleads an alleged violation of procedural due process.

       C.       Count III – Excessive Fines Claim

       Plaintiffs’ final claim is that the wholesale loss of their equity pursuant to Illinois’ tax

sale procedures constitutes an excessive fine that violates the Eighth and Fourteenth

Amendments to the U.S. Constitution, see Timbs v. Indiana, 586 U.S. 146, 150 (2019)

(incorporating the Eighth Amendment against the States), and the Proportionate Penalties Clause

of the Illinois Constitution, see Ill. Const. art. I, § 11 (“All penalties shall be determined both

according to the seriousness of the offense and with the objective of restoring the offender to

useful citizenship.”). The Illinois Constitution “provide[s] a limitation on penalties beyond those

afforded by the eighth amendment.” People v. Clemons, 2012 IL 107821, ¶ 39. If Plaintiffs’



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amended complaint states a claim for excessive fines under the Eighth Amendment, then it

likewise states a claim under the Illinois Constitution.

       The Eighth Amendment provides: “Excessive bail shall not be required, nor excessive

fines imposed, nor cruel and unusual punishments inflicted.” U.S. Const. amend. VIII. “The

analysis under the Excessive Fines Clause proceeds in two steps. The first is a threshold

determination: Is the sanction punitive or purely remedial?” Grashoff v. Adams, 65 F.4th 910,

916 (7th Cir. 2023). If the sanction is not punitive, then the Eighth Amendment does not apply.

See Austin v. United States, 509 U.S. 602, 609–10 (1993) (the Eighth Amendment “limits the

government’s power to extract payments . . . as punishment for some offense”). “If the sanction

is punitive, the next step is to determine whether it is ‘grossly disproportional to the gravity of

[the] . . . offense.’” Grashoff, 65 F.4th at 916–17 (quoting United States v. Bajakajian, 524 U.S.

321, 334 (1998)).

       Defendants give short shrift to their arguments against Plaintiffs’ excessive fines claim.

The Other Counties argue that “there was no harm because the defendant counties’ conduct was

legislatively authorized.” Doc. 87 at 28. Simply because there is legislative support for a fine

does not mean that it cannot be punitive nor excessive. See Timbs, 586 U.S. at 148 (discussing

state court decision finding that forfeiture of vehicle worth $32,000 more than maximum penalty

was “grossly disproportionate to the gravity of [petitioner’s] offense”). The Lake County

Defendants argue that none of the Counties collect any of the surplus equity, meaning they have

not levied any potentially excessive fine, but fail to cite supporting caselaw that the

government’s non-retention of property used to pay a fine means that it did not levy a fine in the

full amount it collected. See Schaefer, 839 F.3d at 607 (arguments without legal support are

waived).



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       With respect to the first prong of the Eighth Amendment analysis, the Excessive Fines

Clause applies to any statutory scheme that “serv[es] in part to punish.” Austin, 509 U.S. at 610.

In other words, if a challenged penalty “cannot fairly be said solely to serve a remedial purpose,”

then a court must examine it through the lens of the Eighth Amendment. Id. Given that the

amount of equity a property owner loses in Illinois’ tax sale procedures is inherently variable

depending on the value of the property, whether there was a mortgage or other liens against it,

and other factors, its forfeiture is “a penalty that ha[s] absolutely no correlation to any damages

sustained by society or to the cost of enforcing the law.” United States v. Ward, 448 U.S. 242,

254 (1980) (emphasis added). And, as Illinois courts have recognized, the threat of losing

property serves as a method of “coerc[ing] tax delinquent property owners to pay their taxes,”

Excalibur Energy Co. v. Rochman, 2014 IL App (5th) 130524, ¶ 17 (emphasis added), meaning

that the loss of property does not “solely [] serve a remedial purpose,” Austin, 509 U.S. at 610.

Accordingly, the Excessive Fines Clause to the Eighth Amendment applies. See Grashoff, 65

F.4th at 916.

       The Court next considers if the fine is “grossly disproportional to the gravity of [the] . . .

offense.” Bajakajian, 524 U.S. at 334. This entails weighing four factors:

                (1) the essence of the crime and its relation to other criminal
                activity; (2) whether the defendant fit into the class of persons for
                whom the statute was principally designed; (3) the maximum
                sentence and fine that could have been imposed; and (4) the nature
                of the harm caused by the defendant’s conduct.

United States v. Malewicka, 664 F.3d 1099, 1104 (7th Cir. 2011). The allegations in Plaintiffs’

amended complaint indicate that it is premature to conclude that their loss of all equity in their

former properties does not satisfy these factors. Although the essence of the offense Plaintiffs

committed—failing to pay property taxes—obviously merits some sort of monetary penalty, and



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Plaintiffs undoubtedly fall within the class of persons to whom the Illinois tax sale statute

applies, the loss of all equity a landowner holds in their property is likely “grossly

disproportional to the gravity of” the offense. Bajakajian, 524 U.S. at 334; see id. at 337–39

(forfeiture of $357,144 is grossly disproportionate compared to seriousness of reporting statute).

This is because “the maximum . . . fine” is indefinite and undefined: it depends entirely on the

value of the properties Plaintiffs once owned and bears little relation to the amount of property

taxes they failed to pay to the municipal governments. Malewicka, 664 F.3d at 1104. Moreover,

due to the factual nature of these questions, a conclusive determination that Plaintiffs’ loss of the

equity in their properties does or does not violate the Eight Amendment would be premature. Cf.

United States v. Real Prop. Located At 1912 SE 15TH Ave. Gainesville FL with all improvements

& appurtenances thereon, No. 06 C 138, 2010 WL 2136044, at *8 (N.D. Fla. May 25, 2010) (“In

sum, because of these disputed factual issues, the Court concludes that summary judgment is not

appropriate regarding the issue of whether the forfeiture is an excessive fine.”). Finally,

although Plaintiffs’ failures to pay property taxes undoubtedly caused some harm to Defendants

and their communities, Plaintiffs’ complaint contains no facts that would allow the Court to

conclude that their failures to pay property taxes caused either significant or minimal damage.

       Accordingly, the Court finds that Plaintiffs’ amended complaint states a claim for a

violation of the Excessive Fines Clause of the Eighth Amendment and denies Defendants’

motions to dismiss Count III of Plaintiffs’ amended complaint.

       D.      Monell Liability

       Defendants’ final argument against Plaintiffs’ amended complaint is that it fails to allege

a “policy or custom” that “inflicts the injury” Plaintiffs claimed to have suffered, meaning they

cannot sue the county treasurers or clerks in their official capacities under § 1983. Monell v.



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Dep’t of Soc. Servs. of City of N.Y., 436 U.S. 658, 694 (1978). “[A] municipality can be liable

under § 1983 only ‘when execution of a government’s policy or custom . . . inflicts the

[constitutional] injury.’” Spiegel v. McClintic, 916 F.3d 611, 617 (7th Cir. 2019) (quoting

Monell, 436 U.S. at 694). The three avenues plaintiffs have to proceed under Monell are “(1) an

express policy that causes a constitutional deprivation when enforced; (2) a widespread practice

that is so permanent and well-settled that it constitutes a custom or practice; or (3) an allegation

that the constitutional injury was caused by a person with final policymaking authority.” Est. of

Sims ex rel. Sims v. Cnty. of Bureau, 506 F.3d 509, 515 (7th Cir. 2007) (citation omitted).

       Plaintiffs argue two policies that they believe could support liability under Monell. The

first is Defendants’ “choice” to use state law to recover delinquent taxes. But it “is difficult to

imagine a municipal policy more innocuous and constitutionally permissible, and whose causal

connection to the alleged violation is more attenuated, than the ‘policy’ of enforcing state law.”

Surplus Store & Exch., Inc. v. City of Delphi, 928 F.2d 788, 791 (7th Cir. 1991). Plaintiffs will

have to look elsewhere for a source of liability.

       Plaintiffs’ second alleged policy stands on firmer ground. They argue that this policy is

Defendants’ “choice to disregard the long-standing law as laid out in Tyler by refusing to pay the

Plaintiffs and class members the compensation the [U.S. and Illinois] Constitutions require.”

Doc. 96 at 40. Defendants protest that this merely accuses them of following Illinois law, which

is, again, impermissible. See Delphi, 928 F.2d at 791, Bethesda Lutheran Homes & Servs., Inc.

v. Leean, 154 F.3d 716, 718 (7th Cir. 1998) (“When the municipality is acting under compulsion

of state or federal law, it is the policy contained in that state or federal law, rather than anything

devised or adopted by the municipality, that is responsible for the injury.”). But Plaintiffs’

allegations go beyond accusing Defendants of simply following the law. They allege that it “is



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Defendants’ official policy and custom to promote Tax Buyers’ obtaining tax deeds on properties

whose taxes have been sold without providing any compensation to the owners.” Doc. 78 ¶ 88

(emphasis added). They further allege that the treasurers and clerks “have final policymaking

authority,” id. ¶ 90, and that “[n]othing requires or compels any Defendant to refrain from paying

just compensation to Plaintiffs and members of the Class,” id. ¶ 91. The Court must accept these

allegations as true, see Kubiak, 810 F.3d at 480–81, and as currently pleaded they satisfy

Monell’s requirement to allege “that the constitutional injury was caused by a person with final

policymaking authority.” Bureau, 506 F.3d at 515.

       The Court, therefore, allows Counts I and III to proceed, and dismisses Count II with

prejudice with respect to the substantive due process claim and without prejudice regarding the

procedural due process claim.

VII.   Whether Rule 19 Requires Plaintiffs to Sue the Tax Buyers

       Finally, the Court considers Defendants’ last argument, which is that Plaintiffs must sue

every tax buyer who took title to their former properties due to the tax sale procedures pursuant

to Rule 19. Rule 19 provides that a person “must be joined” to a lawsuit if “in that person’s

absence, the court cannot accord complete relief among existing parties” or “that person claims

an interest relating to the subject of the action” and their absence may “impair or impede” their

“ability to protect the[ir] interest” or would “leave an existing party subject to a substantial risk

of incurring double, multiple, or otherwise inconsistent obligations because of the interest.” Fed.

R. Civ. P. 19. Because the “person” of whom Rule 19 speaks would be a tax buyer, and no tax

buyer has appeared to claim that they have an interest in the subject of this action, the Court

focuses only on whether the absence of the tax buyers make it so the Court “cannot accord

complete relief among existing parties.” Id.



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       The DuPage County Defendants argue that if “Plaintiffs have brought valid claims for

violations of their rights, it is the tax buyers who so violated those rights. Therefore, those tax

buyers are indispensable to adjudicating Plaintiffs’ claims in this Court.” Doc. 89 at 15; see also

Doc. 88 at 15 (Lake County Defendants joining argument); Doc. 91 at 13–14 (Kane County

Defendants joining argument). But the Court has already found that Plaintiffs’ amended

complaint states claims against Defendants who are already present, and the DuPage County

Defendants fail to show how the Court would be unable to grant complete “relief between the

persons already parties, and not as between a party and the absent person whose joinder is

sought.” Perrian v. O’Grady, 958 F.2d 192, 196 (7th Cir. 1992). Indeed, Plaintiffs only seek

“just compensation” for their alleged constitutional violations, attorneys’ fees, and declaratory

relief in this suit. Doc. 78 at 31–32. They do not seek to recover anything from the tax buyers,

such as the return of their former properties. Accordingly, the Court finds that the tax buyers are

not necessary parties and denies the DuPage County Defendants’ motion to order Plaintiffs to

join them to this case.

                                          CONCLUSION

       The Court grants in part and denies in part Defendants’ motions to dismiss [86, 88, 89,

90]. The Court dismisses Plaintiffs’ due process claim (Count II) with prejudice to the extent it

pleads an alleged violation of substantive due process, and without prejudice to the extent it

pleads an alleged violation of procedural due process.



Dated: October 18, 2024                                        ______________________
                                                               SARA L. ELLIS
                                                               United States District Judge




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